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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,                          )
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A.,                          )
THE TRUST FUND FOR APPRENTICE AND                                 )
JOURNEYMAN EDUCATION AND TRAINING,                                )
LOCAL 130, U.A., PLUMBERS’ RETIREMENT                             )
SAVINGS PLAN FUND, LOCAL 130, U.A., and                           )
CHICAGO JOURNEYMEN PLUMBERS’ LOCAL                                )
UNION 130, U.A., GROUP LEGAL SERVICES PLAN                        )
FUND,                                                             )
                                                                  )   Case No.: 19 CV 6670
                                                                  )
                                 Plaintiffs,                      )   Honorable Judge Pacold
                                                                  )
          v.                                                      )   Magistrate Judge Cummings
                                                                  )
STARR PLUMBING, INC,                                              )
                                                                  )
                                 Defendant.                       )

          Now come the Plaintiffs, by and through their attorneys, Gregorio ♦ Marco, pursuant to

the Court’s standing order, filing this initial status report:


                            PLAINTIFFS’ INITIAL STATUS REPORT
    1.         Nature of the Case.

          A.      The attorney of record for Plaintiffs are Michael J. McGuire and Gregory W.
                  Hose, of Gregorio ♦ Marco, P.C., 2 N. LaSalle Street, Suite 1650, Chicago,
                  Illinois. Ph: 312-263-2343, Fax: 312-263-2512., mmguire@gregoriolaw.com and
                  ghose@gregoriolaw.com. Mr. McGuire is expected to be the lead trial attorney.

                  To date, Defendant has yet to retain counsel.

          B.      Plaintiffs are beneficiaries of a Collective Bargaining Agreement which requires
                  Defendant to remit payments and fringe benefits to the various Trust Funds on
                  behalf of the Chicago Journeymen Plumbers Local Union 130, U.A. Defendant
                  is a signatory to an Agreement which binds them to the Plumbers’ Local 130
                  Collective Bargaining Agreement (“CBA”) and the Agreement and Declaration of
                  Trust. The CBA requires all signatory employers to submit its books and records
                  to an auditor selected by the Plaintiffs so that a fringe benefit compliance audit
                  may take place. Plaintiffs alleged that Defendant breached the terms of the CBA
                  and Trust Agreements by failing to submit its books and records to an auditor so
                  that a fringe benefit compliance audit may take place for the time period of
                  January 1, 2015 through April 1, 2019.
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      C.      Plaintiffs do not anticipate any major legal or factual issues. Any legal
              issues will surround the interpretation of the terms of the Collective
              Bargaining Agreement and Trust Agreements as applied to the Defendant
              as well as issues related to liquidated, damages, interest and fees pursuant
              to ERISA § 1132(g)(2).

              Factual issues may revolve around payments made by Defendant and the
              aggregate amount owed by Defendant based on its reporting and payment to the
              Plaintiff Trust Funds. Issues may arise regarding the audit findings if any, and
              challenges raised by Defendant to the audit.

      D.      As of the date of this report, Plaintiffs do not know the specific damages at issue.
              Defendant needs to perform and finalize a fringe benefit compliance audit for the
              time period of January 1, 2015 through April 1, 2019. The Plaintiffs are
              demanding Defendant produce all payroll records, corporate tax returns,
              unemployment reports, distributions, bank records and employee lists for the
              relevant time period. The Plaintiffs are also making a claim for liquidated
              damages and interest per the terms of the Trust Agreements and ERISA
              § 1132(g)(2). Plaintiffs are also be making a claim for attorney fees and costs per
              the Trust Agreements and statute.

2.         Jurisdiction.

      A.      Federal jurisdiction in this matter is found under Section 502 of the Employee
              Retirement Income Security Act and Section 301 of the Taft-Hartley Act. (29
              U.S.C. §§1132 and 185) and Section 301 of the National Labor Relations Act, 29
              U.S.C. §185(a) as amended.

3.         Status of Service.

              Defendant has been served through the Illinois Secretary of State on November
              27, 2019. Defendant is currently in technical default.

4.         Consent to Proceed Before a Magistrate.

              Counsel has advised the parties that they may proceed before a Magistrate Judge.
              Plaintiffs have not heard from Defendant. There is no unanimous consent.

5.         Pending Motions.

      a.      Currently there is a pending Motion for Default and Audit filed by the Plaintiffs.
              The motion is currently set to be heard by this Court on Thursday, January 23,
              2020 at 9:30 a.m.

6.         Status of Settlement Discussions.

      A.      No settlement discussion have occurred to date.

      B.      Plaintiffs are willing to discuss settlement if contact by a representative of
              Defendant.
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         C.       Plaintiffs do not request a settlement conference at this time.


                                                 By: /s/ Michael J. McGuire
                                                        Michael J. McGuire
                                                        One of the attorneys for the Plaintiffs

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